                                      CASE 0:22-cr-00174-NEB-ECW Doc. 19 Filed 08/15/22 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                       )            COURTROOM MINUTES - CRIMINAL
                                                                )              BEFORE: BECKY R. THORSON
                                          Plaintiff,            )                  U.S. Magistrate Judge
                                                                )
   v.                                                           )    Case No:              22-cr-174 NEB/ECW
                                                                )    Date:                 August 15, 2022
 Juan Gabriel Serna-Rojo (2),                                   )    Courthouse:           St. Paul
                                                                )    Courtroom:             3C
                                          Defendant,            )    Time Commenced:       1:56 p.m.
                                                                     Time Concluded:       2:01 p.m.
                                                                     Time in Court:        5 minutes

APPEARANCES:

   Plaintiff: Katharine Buzicky, Assistant U.S. Attorney
   Defendant: Manny Atwal, Assistant Federal Public Defender
                         X FPD        X To be appointed

   Interpreter/Language: Esperanza Lopez-Dominguez/Spanish

   Date Charges Filed: 8/10/2022                       Offense: conspiracy to distribute methamphetamine; conspiracy to distribute
                                                                                     cocaine

   X Advised of Rights

on        X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is August 17, 2022 at 10:00 a.m. before U.S. Magistrate Judge Becky R. Thorson in CR3C, St.
Paul for:
 X Detention hrg        X Arraignment hrg


Additional Information:
X Oral Rule5(f) Brady notice read on the record.
                                                                                                          s/SAE
                                                                                                      Signature of Courtroom Deputy




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